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                UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF PENNSYLVANIA

THE ESTATE OF MICHAEL TRISTIAN        :   JURY TRIAL DEMANDED
PAONE, deceased, by and through the   :
ADMINISTRATORS OF THE ESTATE,         :
MICHAEL PAONE, JR. AND LISA           :
PAONE                                 :   Civil Action No.
78 Greenwoods Drive                   :
Horsham, PA 19044                     :
                                      :
AND                                   :
                                      :
LISA PAONE, individually              :
16 Dare Lane                          :
Pottstown, PA 19465                   :
                                      :
AND                                   :
                                      :
JULIANA PAONE, individually           :
16 Dare Lane                          :
Pottstown, PA 19465                   :
                                      :
                 Plaintiffs,          :
                                      :
v.                                    :
                                      :
PLYMOUTH TOWNSHIP                     :
700 Belvoir Road                      :
Plymouth Meeting, PA 19463            :
                                      :
AND                                   :
                                      :
PLYMOUTH TOWNSHIP POLICE              :
OFFICERS DOES 1 – 10, inclusive       :
700 Belvoir Road                      :
Plymouth Meeting, PA 19463            :
                                      :
                 Defendants.          :
                                      :


                           COMPLAINT - CIVIL ACTION
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                                                Introduction

        Plaintiffs, the Administrators of the Estate of Michael T. Paone, Michael Paone, Jr. and

Lisa Ann Paone, and Lisa Ann Paone and Juliana Paone individually, by and through

undersigned counsel, bring this action against defendants Plymouth Township, including the

Plymouth Township Police Department, and Plymouth Township Police Officers Does 1 through

10 inclusive, and allege as follows.

        This civil rights and personal injury action seeks all damages available by law as a result

of defendants violating plaintiffs’ rights under the United States Constitution and state law in

connection with the wrongful and fatal police shooting of the decedent, Michael Tristiane Paone,

which occurred on August 3, 2021, in Plymouth Township, Montgomery County, Pennsylvania.

                                          Jurisdiction and Venue

        1.          This civil action is brought for the redress of alleged deprivations of constitutional

rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988, the Fourth, Fifth, and Fourteenth

Amendments of the United States Constitution, and rights protected by the Commonwealth of

Pennsylvania. As such, jurisdiction is founded on 28 U.S.C. §§ 1331, 1343, and 1367.

        2.          Venue is proper in this Court under 28 U.S.C. § 1391(b), because defendants

reside in this district, and all incidents, events, and occurrences giving rise to this action occurred

in this district.

                                                The Parties

        3.          Decedent Michael Tristiane Paone (“Decedent”), was a 22 year old individual,

who at all times relevant up until his death on August 4, 2021, resided in an apartment (the
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“Apartment”) at Plymouth Gardens Apartments, 1300 Fayette Street, Conshohocken, PA.

Decedent shared the Apartment with his mother and sister.

       4.       Pursuant to a grant of Letters of Administration from the Montgomery County

Register of Wills dated October 28 2021, Michael Paone, Jr. and Lisa Paone, Decedent’s natural

mother and father, were appointed Co-Administrators of the Estate of Michael T. Paone,

decedent, and bring this suit in that capacity.

       5.       Plaintiff Lisa Paone (“Mother”) is the natural mother of Decedent and in addition

to her capacity as Co-Administrator, sues in her individual capacity and seeks damages.

       6.       Plaintiff Juliana Paone (“Sister”) is the natural sister of Decedent and sues in her

individual capacity and seeks damages.

       7.       At all relevant times, defendant Plymouth Township (the “Township”) is and was

a duly organized public entity existing under the laws of the Commonwealth of Pennsylvania.

Defendant Township created, maintained, supervised, and was responsible for the Plymouth

Township Police Department. At all relevant times, upon information and belief, the Township

was the employer of Does 1 through 10, who were Township police officers, supervisorial

officers, and managerial, supervisorial, and policymaking employees of the Township Police

Department. On information and belief, at all relevant times, Does 1 through 10 were residents

of the Commonwealth of Pennsylvania.

       8.       At all relevant times, defendants Does 1 through 10 were duly authorized

employees and agents of the Township who were acting under color of law within the course and

scope of their respective duties as police officers and with the complete authority and ratification

of their principal, defendant Township.
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       9.       In doing the acts and failing and omitting to act as hereinafter described,

defendants Does 1 through 10 were acting on the implied and actual permission and consent of

the Township.

       10.      At all relevant times mentioned herein, each and every Township defendant was

the agent of each and every other Township defendant and had the legal duty to oversee and

supervise the hiring, conduct, and employment of each and every Township defendant.

       11.      The true names of defendants Does 1 through 10, inclusive, are unknown to

Plaintiffs, who therefore sue these defendants by such fictitious names. Plaintiffs will seek leave

to amend this complaint to show the true names and capacities of these defendants when they

have been ascertained. Each of the fictitiously-named Doe defendants is responsible in some

manner for the conduct and liabilities alleged herein.

                                      Factual Background

       12.      As of the evening of August 3, 2021, the decedent, Michael T. Paone, was

twenty-two (22) years old. Decedent had a known history of mental illness. He had been

diagnosed with Attention Deficit Disorder as a child, and as an adult with an anxiety disorder,

obsessive-compulsive disorder with recurring thought, bipolar disorder with features of

schizophrenia, grandiose, delusions, and paranoia (but not schizo-affective disorder). Decedent’s

symptoms caused by his mental illness were not always present, and he was often able to

maintain normal social relationships whereby his mental illness was not apparent to all those

who knew him.

       13.      On the evening of August 3, 2021, Decedent and Sister were at the complex of the

Apartment they shared with Mother. Upon information and belief, the Apartment is one of 309
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apartments in the Plymouth Gardens complex (the “Complex”). The Complex is composed of

approximately a dozen two-story buildings of varying size, set in a garden-type landscape.

       14.     At approximately 10:45pm on the evening of August 3, 2021, Sister left the

Apartment and walked to her car that was parked in the Complex parking lot. As she neared her

car, she was approached by Decedent, who appeared agitated and was exhibiting symptoms

consistent with his mental illness.

       15.     Shortly after their encounter in the parking lot, Sister and Decedent returned to the

Apartment and Decedent became aggressive with Mother, stabbing her in the arms with a small

knife, causing superficial wounds to her arms.

       16.     While Decedent was being aggressive with Mother, it was obvious to Mother that

Decedent was exhibiting symptoms of his mental illness.

       17.     While Decedent was being aggressive with Mother, Sister left the Apartment and,

starting at approximately 11:11pm, called 911 from her cell phone.

       18.     Decedent ceased being aggressive with Mother shortly after Sister left the

Apartment and before the police arrived. After Decedent ceased being aggressive, Mother went

outside the Apartment and into the outdoors common area between multiple apartment buildings.

       19.     After Decedent ceased being aggressive with Mother and before the police

arrived, he walked out of the Apartment, right past Mother, as if she was not there. Decedent

thereupon stood in the grassy area between two buildings in the Complex.

       20.     Decedent’s walking past Mother, the former target of his aggression, indicated to

her that Decedent was no longer a threat to her or anyone else.
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       21.     Sister was inside an adjacent apartment building and spoke with 911 dispatch for

more than five (5) minutes before the call was inadvertently disconnected. Sister immediately

called 911 again, again from her cell phone; this second call to 911 dispatch lasted for more than

twelve (12) minutes.

       22.     At approximately 11:11pm, Sister first reported to 911 that Decedent had a knife

and was trying to stab Mother.

       23.     At approximately 11:12pm, Sister reported to 911 that Decedent had mental

health issues and had recently been at a nearby in-patient mental health facility.

       24.     Decedent had been an in-patient at a hospital located within Montgomery County

from July 11, 2021 through July 20, 2021. Due to an incident with hospital staff on July 11,

2021, the Abington Township Police Department was called, arrived at the hospital, and

completed an incident report, documenting that Decedent was involuntarily committed due to his

mental health. Upon information and belief, the incident report completed by the Abington

Township Police Department and involving Decedent was known to, or should have been known

to the Plymouth Township Police Department when Sister provided Decedent’s name and/or

address and/or date of birth to 911 dispatch on August 3, 2021.

       25.     At approximately 11:14pm on August 3, 2021, in response to the 911 dispatch

question of whether Decedent had other weapons or guns, Sister reported to 911 that Decedent

did not have guns but he had a “fake toy gun”.

       26.     When the police arrived, Decedent was standing at the bottom of a slight incline,

between two of the buildings, with his back to one of the buildings which was about twenty feet

behind him.
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        27.      Upon information and belief, at approximately 11:15pm, police officers, including

Does 1 through 3 arrived at the Complex and began to approach Decedent.

        28.      Doe 1 was positioned approximately fifty feet from Decedent, on a slight incline

uphill from Decedent, and safely behind a large trash dumpster that was inside an enclosure.

        29.      Does 2 and 3 were positioned in the parking lot safely between parked cars,

approximately twenty-five to thirty feet from Decedent.

        30.      While Does 1 through 3 were thus positioned, one of them told Decedent to drop

his gun.

        31.      Decedent immediately complied with this initial demand and dropped the fake toy

gun.

        32.      After Decedent dropped the toy gun, Does 2 and 3 moved to within fifteen to

twenty feet away from him and shined flashlights directly at him. Decedent appeared confused

and appeared to take a tentative step toward his right in the direction of the toy gun he had

dropped, and started to bend over, in the direction of the toy gun.

        33.      Within two to three seconds of Decedent leaning over toward the toy gun,

defendant Doe 1, who had been safely standing at and/or behind an enclosed trash dumpster

approximately fifty feet away from Decedent, moved out of his safe location and without any

warning to Decedent immediately and abruptly fired three shots at Decedent, causing Decedent

to fall to the ground.

              a. Five or six seconds later, while Decedent remained on the ground, Doe 1 fired

                 two more shots at Decedent.
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             b. Less than ten seconds later, Does 2 and/or 3, who were standing approximately

                fifteen feet from Decedent and in the potential sight line of Doe 1, opened fire on

                Decedent.

             c. Doe 1 fired more shots at Decedent, all while Decedent was lying on the ground.

       34.      Multiple gunshots fired at Decedent missed him and hit several apartments behind

Decedent, causing property damage and terrifying the residents of the Complex. The apartments

that sustained damage were occupied by residents of the Complex.

       35.      Prior to using lethal force, Does 1 through 3 did not attempt to assess Decedent’s

medical condition or mental or psychological state, even though they had been informed, or

should have been informed by 911 dispatch, that Decedent was in the midst of a mental health

crisis, had a history of mental illness, and had no weapons.

       36.      Does 1 through 3 did not use de-escalation techniques, or attempt to speak to

Decedent in a professional and nonthreatening way.

       37.      Does 1 through 3 did not use any verbal warning that deadly force would be used

prior to shooting Decedent multiple times, despite it being feasible to do so.

       38.      No defendant issued appropriate commands to Decedent, except to drop the gun,

which he did immediately.

       39.      At the time of the shooting, Decedent posed no immediate threat of death or

serious physical injury to any of the Doe defendants or anyone else. Decedent never verbally

threatened any of the Doe defendants. Does 1 through 3 were all in a safe location, behind the

dumpster enclosure and parked vehicles. Additionally, Decedent was either going to the ground

or was already on the ground when Does 1 through 3 continued to fire shots at him.
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       40.     Does 1 through 3 immediately resorted to lethal force even though they were

faced with a subject who appeared only to tentatively move in the direction of a toy gun that he

had initially dropped on command. There were other less than lethal options available to the

police. The involved officers did not show a reverence for human life. The involved officers are

responsible for every single shot they fired. This was not an immediate defense-of-life situation.

       41.     Upon information and belief, within just a few seconds Decedent sustained eight

penetrating gunshot wounds to his chest, legs, arms, and right hand. Further, as a result of some

of these gunshot wounds, several of Decedent’s fingers were blown off.

       42.     By approximately 11:31pm, about fifteen minutes after Does 1 through 3 shot

Decedent eight times, and when Decedent was quite obviously incapacitated, the officers had

already handcuffed Decedent and determined to take him into custody.

       43.     No attempt was made to stanche the bleeding caused by the gunshot wounds, until

11:24pm, when one police officer applied a field tourniquet to Decedent’s right thigh, where two

bullets had entered. Prior to that minimal effort, from approximately 11:16pm until 11:24pm,

Decedent lay on the ground, bleeding. No attempt was made to stanche the bleeding from the

gunshot wounds to his right chest, his left chest, his right buttock, his abdomen, his left thigh, his

right hand, or his left arm until the ambulance arrived several minutes later.

       44.     The Plymouth Community Ambulance arrived at approximately 11:29pm.

Decedent was immediately transferred to the ambulance, where he became unresponsive at

11:51pm. He was transferred to the emergency room, arriving at 12:20am.
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          45.   Despite the efforts of the Plymouth Ambulance, JeffStat, and Mercy Suburban

Hospital, Decedent was pronounced dead as a result of multiple gunshot wounds on August 4,

2021 at 1:34am.

          46.   Following Decedent’s passing, upon information and belief, Defendants

disseminated to news organizations and other public entities information it knew or should have

known was false and portraying Decedent in a false light.

          47.   News organizations and other public entities did in fact publish the information

provided to it by defendants concerning Decedent and plaintiffs.

          48.   Upon information and belief, defendants disseminated information described

herein about Decedent in an attempt to justify, distort, and/or cover up its own conduct described

herein.

          49.   As a result of the aforesaid conduct and actions of defendants, plaintiffs Lisa

Paone and Michael Paone, Jr., Co-Administrators for the Estate of Michael T. Paone, seek

damages for the wrongful death of Decedent, damages reflecting the extreme mental and

physical pain and suffering, loss of enjoyment of life and loss of life, as well as damages for the

deprivation of Decedent’s civil rights.

          50.   The Co-Administrators of the Estate have also been deprived of the life-long love,

companionship, comfort, support, society, care and sustenance of their son, the Decedent, and

will continue to be so deprived for the remainder of their natural lives.

          51.   The Co-Administrators on behalf of the Estate have incurred expenses in

connection with Defendants wrongful conduct.
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       52.     Additionally, as a result of witnessing, perceiving, and/or being aware of

Defendants’ wrongful conduct, Lisa Paone and Juliana Paone, individually, have sustained

severe emotional distress and have required medical treatment for same.


                                         COUNT I
              Fourth and Fourteenth Amendments: Excessive Force Violation
                                      42 U.S.C. § 1983
             Michael Paone, Jr. and Lisa Paone, Co-Administrators of the Estate
                        of Michael Tristian Paone v. All Defendants

       53.     Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.

       54.     In committing the acts complained of herein, the defendants acted under color of

state law to deprive Decedent of certain constitutionally protected rights under the Fourth and

Fourteenth Amendments to the Constitution of the United States of America including, but not

limited to the right to be free from excessive use of force by persons acting under color of state

law.

       55.     Defendant Does 1, 2 and 3 failed to objectively and reasonably assess the facts

when they decided to use lethal force on Decedent.

       56.     911 dispatch informed Does 1, 2 and 3 that Decedent had no weapons, only a fake

toy gun, was in a state of crisis and/or suffering from symptoms of a mental illness, and has a

history of mental illness.

       57.     At the time Does 1, 2 and 3 began shooting at Decedent, Decedent was not

presenting any objective danger to Does 1, 2 and 3, to others, or to himself.

       58.     Does 1, 2 and 3 could not subjectively have believed themselves to be in danger.
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       59.     Does 1, 2 and 3 made a choice to unreasonably use deadly force and this decision

to use deadly force did not relate in any way to a proper and conscious assessment of danger and

was objectively unreasonable under the circumstances.

       60.     The use of deadly force was excessive because this was not an immediate defense

of life situation, the involved officers did not give a verbal warning that deadly force would be

used despite it being feasible to do so, there were no commands given, and there were other

reasonable options available other than shooting and killing Decedent.

       61.     This use of deadly force was excessive and unreasonable under the circumstances.

Does 1, 2 and 3 were protected by the dumpster and parked vehicles. Decedent was on the

ground for many of the gunshots fired by Does 1, 2 and 3.

       62.     The conduct of Does 1, 2 and 3 was willful, wanton, malicious, and done with

reckless disregard for the rights and safety of Decedent. The conduct of Does 1, 2 and 3 shocks

the conscience. Defendants acted as they did despite the knowledge they had or should have

had. Defendants’ conduct was carried out with deliberate indifference and/or reckless disregard

to the constitutional rights of Decedent.

       63.     As a direct and proximate result of the violation of his constitutional rights by the

defendants, Decedent suffered the general and special damages as alleged in this Complaint.

       WHEREFORE, Plaintiffs Michael Paone, Jr., and Lisa Paone, Co-Administrators of the

Estate of Michael T. Paone, demand relief under 42 U.S.C. §§ 1983 and 1988, compensatory and

punitive damages against all defendants jointly and/or severally, in an amount in excess of the

statutory jurisdictional limit, plus interest, costs, attorney’s fees as well as delay damages, and

any other equitable remedy that the Court deems reasonable and just.
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                                       COUNT II
        Procedural Due Process Pursuant to the Fifth and Fourteenth Amendments
                                    42 U.S.C. § 1983
           Michael Paone, Jr. and Lisa Paone, Co-Administrators of the Estate
                      of Michael Tristian Paone v. All Defendants

       64.     Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.

       65.     In committing the acts complained of herein, defendants acted under color of state

law to deprive Decedent of certain constitutionally protected rights under the Fifth and

Fourteenth Amendments to the Constitution of the United States of America including, but not

limited to the right not to be deprived of life and liberty without due process.

       66.      Defendants’ process, if any, created an unnecessary risk of harm to Decedent.

Defendants deprived Decedent of his life and liberty interests without due process of law in that

no process was provided to Decedent prior to Defendants’ shooting him, causing a baseless and

unwarranted deprivation of his liberty and life.

       67.     The conduct of Does 1, 2 and 3 was willful, wanton, malicious, and done with

reckless disregard for the rights and safety of Decedent. The conduct of Does 1, 2 and 3 shocks

the conscience. Does 1, 2 and 3 acted as they did despite the knowledge they had or should have

had. The conduct of Does 1, 2 and 3 was carried out with deliberate indifference and/or reckless

disregard to the constitutional rights of Decedent.

       68.     As a direct and proximate result of the violation of his constitutional rights by the

defendants, Decedent suffered the general and special damages as alleged in this Complaint.

       WHEREFORE, plaintiffs Michael Paone, Jr., and Lisa Paone, Co-Administrators for the

Estate of Michael T. Paone, demand relief under 42 U.S.C. §§ 1983 and 1988, compensatory and
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punitive damages against all defendants jointly and/or severally, in an amount in excess of the

statutory jurisdictional limit, plus interest, costs, attorney’s fees as well as delay damages, and

any other equitable remedy that the Court deems reasonable and just.


                                       COUNT III
       Substantive Due Process Pursuant to the Fourth and Fourteenth Amendments
                                    42 U.S.C. § 1983
           Michael Paone, Jr. and Lisa Paone, Co-Administrators of the Estate
                       of Michael Tristian Paone v. All Defendants

       69.     Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.

       70.     In committing the acts complained of herein, the Defendants acted under color of

state law to deprive Decedent of certain constitutionally protected rights under the Fourth and

Fourteenth Amendments to the Constitution of the United States of America including, but not

limited to the right not to be deprived of life and liberty without due process, the right to be free

from excessive force, and the right to privacy.

       71.     The conduct of Does 1, 2 and 3 was willful, wanton, malicious, and done with

reckless disregard for the rights and safety of Decedent. Defendants’ conduct shocks the

conscience. Defendants acted as they did despite the knowledge they had or should have had.

Defendants’ conduct was carried out with deliberate indifference and/or reckless disregard to the

constitutional rights of Decedent.

       72.     As a direct and proximate result of the violation of his constitutional rights by the

Defendants, Decedent suffered the general and special damages as alleged in this Complaint.

       WHEREFORE, Plaintiffs, Co-Administrators Michael Paone, Jr., and Lisa Paone for the

Estate of Michael T. Paone, demand relief under 42 U.S.C. §§ 1983 and 1988, compensatory and
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punitive damages against all defendants jointly and/or severally, in an amount in excess of the

statutory jurisdictional limit, plus interest, costs, attorney’s fees as well as delay damages, and

any other equitable remedy that the Court deems reasonable and just.


                                        COUNT IV
                         Conspiracy to Interfere with Civil Rights
                                      42 U.S.C. § 1985
             Michael Paone, Jr. and Lisa Paone, Co-Administrators of the Estate
                        of Michael Tristian Paone v. All Defendants

       73.     Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein

       74.     The constitutional violations as alleged in this Complaint were the result of

defendants knowingly and/or recklessly surrounding and shooting Decedent without first using

non-lethal means of force before attempting to address, communicate with, and/or control

Decedent’s behavior and actions.

       75.     Defendants knew, or should have known, they were responding to a call, domestic

in nature and concerning a mental health crisis. Defendants knew, or should have known that

Decedent did not have a gun on him, but had a fake toy gun as reported to 911. Defendants were

therefore aware of the dangers and/or lack thereof, to themselves and other nearby individuals.

       76.     Despite defendants’ knowledge, defendants conspired to deprive Decedent of his

constitutional rights to life, liberty, due process, the right to privacy and right to be free from

excessive force.

       77.     As a direct and proximate result of the violation of his constitutional rights by the

defendants, Decedent suffered the general and special damages as alleged in this Complaint.

       WHEREFORE, plaintiffs Michael Paone, Jr., and Lisa Paone, Co-Administrators for the
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Estate of Michael T. Paone, demand relief under 42 U.S.C. §§ 1983, 1985, and 1988,

compensatory and punitive damages against all defendants jointly and/or severally, in an amount

in excess of the statutory jurisdictional limit, plus interest, costs, attorney’s fees as well as delay

damages, and any other equitable remedy that the Court deems reasonable and just.


                                         COUNT V
                 Municipal Liability for Unconstitutional Custom or Policy
                                      42 U.S.C. § 1983
             Michael Paone, Jr. and Lisa Paone, Co-Administrators of the Estate
                of Michael Tristian Paone v. Defendant Plymouth Township

       78.     Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.

       79.     On or about August 3, 2021, defendants deprived Decedent of the rights and

liberties secured to him by the Fourth, Fifth and Fourteenth Amendments to the United States

Constitution, in that said defendants and their supervising and managerial employees, agents, and

representatives, acting with gross negligence and with reckless and deliberate indifference to the

rights and liberties of the public in general, including but not limited to Decedent, knowingly

maintained, enforced and applied an official recognized custom, policy, and practice of:

               a. Failing to adhere to its stated mission of faithfully providing service to all who

                   come within its care and jurisdiction by serving and protecting without bias or

                   prejudice “while affording dignity and respect to all.”

               b. Employing and retaining as police officers and other personnel, including

                   defendants Does 1, 2 and 3, whom the Township and certain other Doe

                   defendants, at all times material herein, knew or reasonably should have

                   known had dangerous propensities for abusing their authority and for
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       mistreating citizens by failing to follow written Plymouth Township Police

       Department policies;

    c. Inadequately supervising, training, controlling, assigning, and disciplining

       Township Police Officers, and other personnel, who the Township and certain

       other Doe defendants, knew or in the exercise of reasonable care should have

       known had the aforementioned propensities and character traits;

    d. Failing to adequately train and supply officers, including Does 1, 2 and 3, with

       appropriate policies, regarding the use of excessive force, including deadly

       force;

    e. Failing to adequately train and supply officers, including Does 1, 2 and 3 with

       appropriate policies, regarding approaching, apprehending, communicating

       with, and otherwise handling an individual having a mental health crises;

    f. Failing to adequately enforce minimum standards for police officer safety,

       training and use of gun standards and qualifications;

    g. Having and maintaining an unconstitutional policy, custom, and practice of

       using excessive force, including deadly force, which also is demonstrated by

       inadequate training regarding these subjects.

    h. Having policies or failing to have proper policies to address individuals,

       including Decedent here, who are in the middle of a mental health crisis.

    i. Failing to utilize the Police Communications Center appropriately, in spite of

       the Township’s website boast of its “state of the art” communication systems

       and techniques for the immediate delivery of vital information, so that Does 1,
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                    2 and 3 were not informed of pertinent information, including the gist of

                    Sister’s message to 911 regarding Decedent’s mental state and possession of a

                    toy gun and the fact that Decedent had recently been committed to a nearby

                    psychiatric facility.

                 j. Exhibiting a deliberate indifference to individuals’ safety and rights in spite of

                    alleged policies, customs, and practices of the Township; and

        80.      By reason of the aforementioned policies and practices of the Township or lack

thereto, Decedent was severely injured, subjected to pain and suffering, loss of life, liberty and

due process.

        81.      The Township, together with various other officials, whether named or unnamed,

had either actual or constructive knowledge of the deficient policies, practices and customs

alleged in the paragraphs above.        Despite having knowledge as stated above the Township

condoned, tolerated and through actions and inactions thereby ratified such policies. The

Township also acted with deliberate indifference to the foreseeable effects and consequences of

these policies with respect to the constitutional rights and life of Decedent.

        82.      By perpetrating, sanctioning, tolerating and ratifying the outrageous conduct and

other wrongful acts, the Township and certain of the Doe defendants acted with an intentional,

reckless, and callous disregard for the constitutional rights and life of Decedent.

        83.      Each of the actions of said defendants were willful, wanton, oppressive,

malicious, fraudulent, and extremely offensive and unconscionable to any person of normal

sensibilities.
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       84.     The policies, practices, and customs implemented and maintained and still

tolerated by the Township and the Doe defendants were affirmatively linked to and were a

significantly influential force behind the injuries of Decedent.

       85.     As a direct and proximate result of the violation of his constitutional rights by the

Defendants, Decedent suffered the general and special damages as alleged in this Complaint.

       WHEREFORE, plaintiffs Michael Paone, Jr., and Lisa Paone, Co-Administrators for the

Estate of Michael T. Paone, demand relief under 42 U.S.C. §§ 1983 and 1988, compensatory and

punitive damages against all defendants jointly and/or severally, in an amount in excess of the

statutory jurisdictional limit, plus interest, costs, attorney’s fees as well as delay damages, and

any other equitable remedy that the Court deems reasonable and just.


                                        COUNT VI
                           Municipal Liability – Failure to Train
                                      42 U.S.C. § 1983
             Michael Paone, Jr. and Lisa Paone, Co-Administrators of the Estate
                of Michael Tristian Paone v. Defendant Plymouth Township

       86.     Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.

       87.     While acting under the color of state law and within the course and scope of their

employment as police officers for the Township, the shooting of Decedent by Does 1, 2 and 3

deprived Decedent of his rights and liberties secured to him by the Fourth, Fifth and Fourteenth

Amendments of the United States Constitution.

       88.     The training policies of the Township were not adequate to train its police

officers, including but not limited to, Does 1, 2 and 3, with regards to; using deadly force;

addressing/approaching/handling an individual in a public area during a mental health crises.
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       89.     The training policies of the Township were not adequate to train its police

officers, including but not limited to, Does 1, 2 and 3, with regards to; identifying, with

information provided and/or available, an individual experiencing a mental health crises.

       90.     As a result of the lack of or improper training, Township police officers, including

Does 1, 2 and 3, are not able to handle the usual and recurring situations with which they must

encounter and make contact with mentally ill individuals. Upon information and belief, these

inadequate training policies existed prior to the date of this incident and continue to this day.

       91.     The Township was deliberately indifferent to and/or recklessly indifferent to the

known or obvious consequences of its failure to adequately train its police officers, including

Does 1, 2 and 3, with regards to using deadly force. This inadequate training includes failing to

teach officers to give a verbal warning when feasible prior to using deadly force, to give

commands when feasible prior to using deadly force, to take cover when the officers believe an

individual is armed, to address mentally ill individuals appropriately, to identify indeterminate

objects, to announce themselves as police and to use less than lethal options, prior to resorting to

the use of deadly force.

       92.     Defendant Plymouth Township was aware that failure to implement some sort of

training with regards to their officers’ use of deadly force and dealing with suspects, including

suspects with mental illness who have indeterminate objects nearby or in their hands, would

result in unreasonable officer-involved shootings of unarmed individuals.

       93.     The failure of the defendant Plymouth Township Police Department to provide

adequate training with regards to using deadly force, caused the deprivation of the rights of
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Decedent by Does 1, 2 and 3. Plymouth Township’s failure to train is so closely related to the

deprivation of the rights of Decedent as to be the moving force that caused the ultimate injury.

       94.     The defendant Plymouth Township Police Department failed to utilize the Police

Communications Center appropriately, in spite of the Township’s website boast of its “state of

the art” communication systems and techniques for the immediate delivery of vital information,

so that Does 1, 2 and 3 were not informed of pertinent information, including the gist of Sister’s

message to 911 regarding Decedent’s mental state and possession of a toy gun and the fact that

Decedent had recently been committed to a nearby psychiatric facility.

       95.     The defendant Plymouth Township Police Department failed to adhere to its

stated mission of faithfully providing service to all who come within its care and jurisdiction by

serving and protecting without bias or prejudice “while affording dignity and respect to all.”

       96.     By failing to provide adequate training to defendant Plymouth Township’s police

officers, including Does 1, 2 and 3, these defendants acted with an intentional, reckless, and

callous disregard to the constitutional rights and life of Decedent.

       97.     As a direct and proximate result of the violation of his constitutional rights by the

Defendants, Decedent suffered the general and special damages as alleged in this Complaint.

       WHEREFORE, plaintiffs Michael Paone, Jr., and Lisa Paone, Co-Administrators for the

Estate of Michael T. Paone, demand relief under 42 U.S.C. §§ 1983 and 1988, compensatory and

punitive damages against all defendants jointly and/or severally, in an amount in excess of the

statutory jurisdictional limit, plus interest, costs, attorney’s fees as well as delay damages. and

any other equitable remedy that the Court deems reasonable and just.
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                                         COUNT VII
                                   Neglect - 42 U.S.C. § 1986
              Michael Paone, Jr. and Lisa Paone, Co-Administrators of the Estate
                         of Michael Tristian Paone v. All Defendants

       98.      Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.

       99.      Defendants had a duty to Decedent, to preserve his health and safety and to act in

a manner consistent with that.

       100.     Upon information and belief, defendants had knowledge of the wrongful acts

complained of in this action, had knowledge that the wrongs conspired to be done in this action

were about to be committed, and had the power to prevent or aid in preventing the commission

of the wrongful acts, neglected and/or refused so to do.

       101.     For all such wrongful acts alleged herein to be committed, defendants shall be

liable to plaintiffs for all damages caused by such wrongful acts.

       102.     Defendants, by using reasonable diligence, could have prevented the wrongful

acts alleged herein and failed to do so.

       103.     As a direct and proximate result of defendants’ negligence, Decedent suffered the

general and special damages as alleged in this Complaint.

       WHEREFORE, plaintiffs Michael Paone, Jr., and Lisa Paone, Co-Administrators for the

Estate of Michael T. Paone, demand relief under 42 U.S.C. §§ 1983, 1986 and 1988,

compensatory and punitive damages against all defendants jointly and/or severally, in an amount

in excess of the statutory jurisdictional limit, plus interest, costs, attorney’s fees as well as delay

damages. and any other equitable remedy that the Court deems reasonable and just.
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                                       COUNT VIII
            State Law Cause of Action Pursuant to 42 Pa. C.S.A § 8302 (Survival)
             Michael Paone, Jr. and Lisa Paone, Co-Administrators of the Estate
                        of Michael Tristian Paone v. All Defendants

         104.     Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.

         105.     Plaintiffs Michael   Paone, Jr. and       Lisa Paone, in their capacity as

Co-Administrators of the Estate of Michael Tristian Paone, bring this action under and by virtue

of the Pennsylvania Survival Act, 42 Pa. C.S.A § 8302.

         106.     Plaintiffs claim on behalf of said Estate damages suffered by reason of the death

of the Decedent, as well as for the pain and suffering sustained by the Decedent prior to his

death.

         WHEREFORE, plaintiffs Michael Paone, Jr., and Lisa Paone, Co-Administrators for the

Estate of Michael T. Paone, demand compensatory and punitive damages against all defendants

jointly and/or severally, in an amount in excess of the statutory jurisdictional limit, plus interest,

costs, attorney’s fees as well as delay damages. and any other equitable remedy that the Court

deems reasonable and just.


                                           COUNT IX
                         State Law Cause of Action for Wrongful Death
                                 Pursuant to 42 Pa. C.S.A § 8301
                Michael Paone, Jr. and Lisa Paone, Co-Administrators of the Estate
                           of Michael Tristian Paone v. All Defendants

         107.     Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.
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          108.   Due to the conduct of defendants, Decedent has left surviving the following

individuals entitled to recover for his death: Lisa Paone, his mother and Michael Paone, Jr., his

father.

          109.   Said individuals, by reason of the death of Decedent, have suffered financial loss

and other expenses of administration of the Decedent’s Estate.

          110.   Plaintiffs’ statutory survivors have further suffered a loss of Decedent’s society

and comfort, friendship, guidance, love and affection, and other damages as are recoverable

under the Wrongful Death Act of the Commonwealth of Pennsylvania.

          111.   Decedent did not bring an action for personal injuries during his lifetime, and no

other actions before death of the Decedent have been commenced against these Defendants. The

Plaintiffs, therefore, bring this action under and by virtue of the Pennsylvania Wrongful Death

Act, 42 Pa. C.S.A § 8301.

          112.   Plaintiffs are entitled to recover, in addition to other damages, amounts for

reasonable hospital, nursing, medical and funeral expenses, and expenses of the administration

necessitated by reason of the conduct causing the death of plaintiffs’ decedent.

          WHEREFORE, plaintiffs Michael Paone, Jr., and Lisa Paone, Co-Administrators for the

Estate of Michael T. Paone, demand relief pursuant to 42 Pa. C.S.A. § 8301 against all

defendants jointly and/or severally, in an amount in excess of the statutory jurisdictional limit,

plus interest, costs, attorney’s fees as well as delay damages. and any other equitable remedy that

the Court deems reasonable and just.
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                                            COUNT X
                        State Law Cause of Action for Assault and Battery
                Michael Paone, Jr. and Lisa Paone, Co-Administrators of the Estate
                           of Michael Tristian Paone v. All Defendants

         113.     Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.

         114.     Does 1, 2 and 3, while acting within the course and scope of their duties and

acting under color of state law as police officers for the Township Police Department,

intentionally shot Decedent multiple times while Decedent was going to the ground and

continued to shoot Decedent after he was already on the ground, striking Decedent multiple

times.

         115.     Decedent was unarmed at the time of the shooting.

         116.     Does 1, 2 and 3 did not give Decedent any verbal warning or commands.

         117.     Does 1, 2 and 3 knew or should have known that Decedent would understand and

comply with any verbal warning or commands, as demonstrated by his throwing the toy gun on

the ground when instructed to do so.

         118.     Does 1, 2 and 3 were positioned in a safe place prior to shooting Decedent, and as

such, Does 1, 2 and 3 were not facing imminent harm when they began shooting Decedent.

         119.     The conduct of Does 1, 2 and 3 was malicious, wanton, oppressive, and

accomplished with a conscious disregard for the rights of Decedent.

         120.     The aforesaid acts of Does 1, 2 and 3 constitute an unwarranted assault and

battery upon Decedent, and represent conduct that is intolerable and wholly unnecessary in a

civilized society.
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       121.     As a direct and proximate result of the assault and battery committed by Does 1, 2

and 3, Decedent was caused to suffer severe mental and physical pain and suffering before dying,

loss of enjoyment of life, and ultimately his life.

       WHEREFORE, plaintiffs Michael Paone, Jr., and Lisa Paone, Co-Administrators for the

Estate of Michael T. Paone, demand relief for the unwarranted assault and battery inflicted on

Decedent, as well as compensatory and punitive damages against all defendants jointly and/or

severally, in an amount in excess of the statutory jurisdictional limit, plus interest, costs,

attorney’s fees as well as delay damages. and any other equitable remedy that the Court deems

reasonable and just.


                                         COUNT XI
                               Defamation - Pennsylvania Law
              Michael Paone, Jr. and Lisa Paone, Co-Administrators of the Estate
                  of Michael Tristian Paone v. Defendants Doe 1 through 10

       122.     Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.

       123.     Defendants reported a version of the events of August 3, 2021 and August 4, 2021

which they knew, or in the exercise of reasonable diligence should have known, was false, to

news outlets and other public entities. Defendants did this with the intent to justify, distort

and/or cover up their own conduct.

       124.     Defendants knew, or in the exercise of reasonable diligence, should have known

the entities it reported to would disclose to others who would believe said information.

       125.     As a direct and proximate result of the inaccurate, incomplete, and/or false

statements made to third persons by Defendants, plaintiffs Michael Paone, Jr. and Lisa Paone,
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co-Administrators of the Estate of Michael Tristian Paone, have suffered the general and special

damages as alleged in this Complaint.

       WHEREFORE, plaintiffs Michael Paone, Jr., and Lisa Paone, Co-Administrators for the

Estate of Michael T. Paone, demand relief for defendants’ defamatory conduct, as well as,

compensatory and punitive damages against all defendants jointly and/or severally, in an amount

in excess of the statutory jurisdictional limit, plus interest, costs, attorney’s fees as well as delay

damages. and any other equitable remedy that the Court deems reasonable and just.


                                        COUNT XII
          State Law Cause of Action for Negligent Infliction of Emotional Distress
          Plaintiffs Lisa Paone and Juliana Paone, Individually v. All Defendants

       126.    Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.

       127.    All defendants owed duties of care to Plaintiffs, including the duty not to shoot

Decedent, their beloved son and brother, when they called 911 for help due to Decedent’s mental

health crisis. Does 1, 2 and 3 breached this duty, as well as other duties owed to plaintiffs.

       128.    Does 1, 2 and 3 negligently caused physical injury and death to Decedent when

Does 1, 2 and 3 discharged their firearms at Decedent, striking him multiple times and eventually

killing him.

       129.    The use of deadly force by Does 1, 2 and 3 was excessive, unreasonable, and

impulsive.

       130.    Does 1, 2 and 3 were negligent in discharging their firearms at Decedent,

including pre-shooting negligent conduct, actions, inactions, and tactics.
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       131.    Mother was present at the scene, which is her residence, when Does 1, 2 and 3

fatally discharged their firearms at Decedent and Mother was aware that Decedent was being

injured.

       132.    Sister was present at the scene, which is her residence, when Does 1, 2 and 3

fatally discharged their firearms at Decedent and Sister was aware that Decedent was being

injured.

       133.    As a result of being present at the scene and witnessing and/or perceiving her son,

Decedent, was being fatally shot by Does 1, 2 and 3, Mother suffered severe emotional distress,

including but not limited to, anguish, fright, horror, nervousness, grief, anxiety, worry, shock,

humiliation, guilt, and shame.

       134.    As a result of being present at the scene and witnessing and/or perceiving her

brother, Decedent, being fatally shot by Does 1, 2 and 3, Sister suffered severe emotional

distress, including but not limited to, anguish, fright, horror, nervousness, grief, anxiety, worry,

shock, humiliation, guilt, and shame.

       135.    On information and belief, any ordinary reasonable person would be unable to

cope with seeing their beloved son and brother fatally shot multiple times by the police, at their

own residence, after their own call for help from police to deal with his mental health crisis.

       WHEREFORE, Plaintiffs Lisa Paone and Juliana Paone, individually, demand

compensatory damages for their emotional distress, an award of attorneys’ fees and costs, and

any other equitable remedy that the Court deems reasonable and just.
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                                       COUNT XIII
         State Law Cause of Action for Intentional Infliction of Emotional Distress
          Plaintiffs Lisa Paone and Juliana Paone, Individually v. All Defendants

       136.    Plaintiffs repeat and reallege each and every allegation in the preceding

paragraphs of this Complaint with the same force and effect as if fully set forth herein.

       137.    Does 1, 2 and 3 each intentionally caused physical injury and death to Decedent

when Does 1, 2 and 3 discharged their firearms at Decedent, striking him multiple times and

eventually killing him.

       138.    The use of deadly force by Does 1, 2 and 3 was intentional, excessive,

unreasonable, extreme and outrageous, including pre-shooting conduct, actions, and tactics.

       139.    Mother was present at the scene, which is her residence, when Does 1, 2 and 3

fatally discharged their firearms at Decedent and Mother was aware that Decedent was being

injured. Mother heard gunshots and saw her son lying on the ground. Mother saw her son reach

his hand up before he apparently lost strength and consciousness.

       140.    Even before they shot Decedent, Does 1, 2 and 3 knew that Mother was nearby,

but they never instructed her to leave the area.

       141.    As a result of being present at the scene and witnessing and/or perceiving her son,

Decedent, being fatally shot by Does 1, 2 and 3, Mother suffered serious emotional distress,

including but not limited to, anguish, depression, fright, horror, nervousness, grief, anxiety,

worry, shock, humiliation, guilt and shame.

       142.    Sister was present at the scene, which is her residence, when Does 1, 2 and 3

fatally discharged their firearms at Decedent and Sister was aware that Decedent was being

injured. Sister stood looking out the window of an exterior door to the adjacent apartment
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building. Sister saw Does 1, 2 and 3 surround and shoot Decedent. Sister was on the telephone

with 911 while she watched her brother being shot by police. She later repeated to Township

police officers that she told 911 her brother had a fake toy gun.

        143.   Even before they shot Decedent, Does 1, 2 and 3 knew that Sister was nearby, but

they never instructed her to leave the area.

        144.   As a result of being present at the scene and witnessing and/or perceiving her

brother, Decedent, being fatally shot by Does 1, 2 and 3, Sister suffered serious emotional

distress, including but not limited to, anguish, depression, fright, horror, nervousness, grief,

anxiety, worry, shock, humiliation, guilt, and shame.

        145.   On information and belief, any ordinary reasonable person would be unable to

cope with seeing their beloved son or brother fatally shot multiple times by the police, at their

own residence, after their own call for help from police to deal with a mental health crisis of their

son and brother.

        WHEREFORE, Plaintiffs, Lisa Paone and Juliana Paone, individually, demand

compensatory and punitive damages for intentional infliction of emotional distress, an award of

attorneys’ fees and costs, and any other equitable remedy that the Court deems reasonable and

just.



Respectfully submitted,


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